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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

September 2011 Grand Jury

UNITED STATES OF AMERICA,
Plaintiff,
v.

MARC PETER WILLEMS,

aka “Adam,”

aka “Ruby,”
MICHAEL EVRON,

aka “Kéysh,”
JONATHAN COLBECK,

aka “Jay,”

aka “djsfishin,”
RYAN RAWLS,

aka “jootgatter,”
JONATHAN DUGAN,

aka “mollyssecret,”

aka “bigeyedfish34,”

aka “dreamingtrees,”
BRIAN COLBECK,

aka “brnytrbl,”

CHARLES BIGRAS,

aka “phattater,” and
GEORGE MATZEK,

aka “mcmurphy813,"

aka “gm8133,”

aka “goldenhorsesshoe-
webdesign,”

Defendants.

 

 

 

[21 U.S.C. § 846: COnSpiracy to
Distribute Controlled SubStanceS;
18 U.S.C. § 1956(h): Conspiracy
to Launder Money; 21 U.S.C.

§§ 841(a) (l), (b) (l) (A) (V),
(b)(l)(B)(V), (b)(l)(C):
DiStribution cf LSD; 18 U.S.C.d

§ 2: Aiding and Abetting; 21
U.S.C. § 848: Continuing Criminal
Enterprise; 21 U.S.C. § 853(a):
Criminal Forfeiture]

 

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The Grand Jury charges:

GENERAL ALLEGATIONS

1. The Internet is a collection of computers and computer
networks that are connected to one another via high-speed data
links and telephone lines for the purpose of communicating and
sharing data and information. Connections between Internet
computers exist across state and international borders;
therefore, information sent between two computers connected to
the Internet frequently crosses state and international borders
even where the two computers are located in the same state.

2. E~mail, also known as "electronic mail," is a popular
means of transmitting messages and/or files in an electronic
environment between computer users. When an individual computer
user sends e-mail, it is initiated at the user's computer,
transmitted to the subscriber's e-mail server, and then
transmitted to its final destination. A server is a computer
that is attached to a dedicated network and serves many users.
An e-mail server may allow users to post and read messages and to
communicate via electronic means.

3. Many individuals and businesses obtain access to the
Internet through businesses known as Internet Service Providers
("ISPs"). ISPs provide their customers with access to the
Internet using telephone or other telecommunications lines;
provide Internet e~mail accounts that allow users to communicate
with other Internet users by sending and receiving electronic
messages through the ISP's servers; remotely store electronic
files on their customers' behalf; and may provide other services

unique to each particular ISP. ISPs maintain records pertaining

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to the individuals or businesses that have subscriber accounts
with them. Those records often include identifying and billing
information, account access information in the form of log files,
e~mail transaction information, posting information, account
application information, and other information both in computer
data and written record format.

4. An Internet Protocol address (or simply “IP” address)
is a unique numeric address assigned to computers using the
Internet. An IP address looks like a series of numbers, each in
the range of 0~255, separated by periods (e.g., 121.56.97.178).
Every computer using the Internet must be assigned an IP address
so that Internet traffic sent from and directed to that computer
may be properly directed from its source to its destination.

Most ISPs control a range of IP addresses to be assigned to their

customers' computers.

5. At all relevant times, defendants MARC PETER WILLEMS,
also known as (“aka”) “Adam,” aka “Ruby” (“WILLEMS”); MICHAEL
EVRON, aka “Keysh” (“EVRON”); JONATHAN COLBECK, aka “Jay,” aka
“djsfishin” (“JONATHAN COLBECK”); RYAN RAWLS, aka “jootgatter”
(“RAWLS”); JONATHAN DUGAN, aka “mollyssecret,” aka
“bigeyedfish34,” aka “dreamingtrees” (“DUGAN”); BRIAN COLBECK,
aka “brnytrbl” (“BRIAN COLBECK”); CHARLES BIGRAS, aka “phattater”
(“BIGRAS”); and GEORGE MATZEK, aka “mcmurphy813," aka “gm8133,”
aka “goldenhorsesshoewebdesign” (“MATZEK”) were members of a

conspiracy to distribute a variety of controlled substances
world-wide through the use of on~line marketplaces that allowed
independent sources of supply to anonymously advertise illegal

drugs for sale to the public. The operators of the On~line

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marketplaces provided a controlled substances storefront, order
forms, on-line forums, customer service, and payment methods for
the different sources of supply. For customers, the operators

screened all sources of supply and guaranteed delivery of the

'illegal drugs. The on-line marketplaces handled all

communications between the sources of supply and customers. For
these services, the operators charged a commission based upon the
value of the order. Customers of the on-line marketplaces have
been identified in every one of the states of the United States
and the District of Columbia and in approximately 34 other
countries. There are thousands of registered users of the on-
line marketplaces. The on-line marketplaces have multiple

sources of supply offering various controlled substances,

including lysergic acid diethylamide (“LSD”), 3,4~

methylenedioxymethampetamine (“MDMA”), fentanyl, mescaline,

ketamine, dimethyltryptamine (“DMT”), and high-end marijuana.
6. Through approximately 2009, one on-line marketplace,

which went by the name Adamflowers, operated primarily via the e-
mail address “Adamflowers@Hushmail.com.” The operators initially
used Hushmail for all communications and orders. Hushmail is a
web-based service, operating out of Canada, that offers encrypted
electronic mail and instant messaging.

7. In approximately January 2010, to improve anonymity,
the operators moved their on-line controlled substances
marketplace to the TOR network. TOR is a circuit of encrypted
connections through relays on the TOR network. TOR can be
downloaded for free to any computer, TOR allows websites and

electronic mail communications to completely mask IP address

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information by spreading communications over a series of
computers, or relays, located throughout the world. On the TOR
network, the on-line controlled substances marketplace was called
“The Farmer's Market.” The majority of communications between
the operators, sources of supply, and customers occurred on The
Farmer's Market website via internal private messaging.

8. The on-line marketplaces have accepted Western Union,
Pecunix, PayPal, I-Golder, and cash as payment for illegal drug
sales. Customers who paid in cash for their orders sent the cash
to addresses controlled by a co-conspirator. The co-conspirator
then collected the cash and forwarded the cash, minus a
commission, to the operators via Western Union or other means.
The organization referred to the addresses used to accept these
cash payments or individuals who accepted these cash payments as

“cash drops.”

 

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COUNT ONE
[21 U.s.c. § 846]

1. Paragraphs One through Eight of the General Allegations
are realleged and incorporated by reference as if fully set forth
herein.

A. OBJECTS OF THE CONSPIRACY

Beginning on a date unknown and continuing to on or about
November 29, 2011, in Los Angeles County, within the Central
District of California, and elsewhere, defendants WILLEMS, EVRON,
JONATHAN COLBECK, RAWLS, DUGAN, BRIAN COLBECK, BIGRAS, and
MATZEK, and others known and unknown to the Grand Jury, conspired
and agreed with each other to knowingly and intentionally:

1. distribute at least 10 grams of a mixture and substance
containing a detectable amount of LSD, a Schedule 1 controlled
substance, in violation of Title 21, United States Code, Sections
841(a)(1) and 841(b)(1)(A)(v);

2. distribute a mixture and substance containing a
detectable amount of MDMA, a Schedule 1 controlled substance, in
violation of Title 21, United States Code, Sections 841(a)(1) and
84l(b)(l)(C);

3. distribute a mixture and substance containing a
detectable amount of fentanyl, a Schedule 11 narcotic drug
controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and 841(b)(1)(C); and

4. distribute marijuana, a Schedule 1 controlled
substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(D).

 

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B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished in
substance as follows:

1. Defendant WILLEMS, with the assistance of defendants
EVRON, JONATHAN COLBECK, RAWLS, DUGAN, BRIAN COLBECK, BIGRAS, and
MATZEK, and others known and unknown to the Grand Jury, would
create, organize, manage, and oversee an on-line marketplace
(“Adamflowers,” and subsequently “The Farmer's Market,”
collectively referred to as the “on-line controlled substances
marketplaces") for the distribution of controlled substances
throughout the United States and other countries around the
world.

2. Defendant EVRON would oversee and provide technical and
customer support for the on-line controlled substances
marketplaces engaged in the distribution of various controlled
substances throughout the United States and other countries
around the world.

3. Defendant JONATHAN COLBECK would obtain marijuana from
defendants W1LLEMS and EVRON which he, in turn, would supply to
customers of the Adamflowers on-line controlled substances
marketplace.

4. Defendant RAWLS would supply LSD, ketamine, mescaline,
DMT, and other controlled substances to customers of the
Adamflowers on-line controlled substances marketplace.

5. Defendant DUGAN would supply LSD, MDMA, and other
controlled substances to defendant WILLEMS and customers of the

Adamflowers on-line controlled substances marketplace.

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6. Defendant WILLEMS would instruct customers wishing to
purchase controlled substances from the on-line controlled
substances marketplaces to send their payments in the names of
various individuals in Budapest, Hungary, via Western Union, to
bank accounts held by Sovereign Management and Legal, S.A., based
in Panama, for transfer to a pre-paid debit card account
accessible by defendant WILLEMS.

7. Defendants WILLEMS and EVRON would oversee the
collection of customer payments for controlled substances
purchased from the on-line controlled substances marketplaces and
the remittance of payments to suppliers of the controlled
substances sold from the on-line controlled substances
marketplaces.

82 Between December 2008 and December 2009, defendant
WILLEMS would pay himself, defendant EVRON, and suppliers of
controlled substances sold from the on-line controlled substances
marketplaces a total of at least approximately $118,575 and
49,511 euros using Pecunix.

9. Defendants WILLEMS and EVRON would recruit new sources
of supply to supply controlled substances sold by the on-line
controlled substances marketplaces.

10. Between January 2007 and October 2009, defendants
WILLEMS and EVRON would process approximately 5,256 on-line
orders for controlled substances valued at approximately
$1,041,244 via the on-line controlled substances marketplaces.

11. Between May 2008 and May 2010, defendants WILLEMS and
EVRON would receive approximately 608 Western Union orders as

payments for shipments of controlled substances via the on-line

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controlled substances marketplaces totaling approximately
$200,031.

12. Between January 2008 and August 2011, defendants
WILLEMS and EVRON would distribute, and aid and abet the
distribution of, at least 29,285 hits and 63 grams of LSD, via
the on-line controlled substances marketplaces.

13. Between March and September 2009, defendants WILLEMS
and EVRON would distribute, and aid and abet the distribution of,
at least 148 grams of MDMA powder, via the on-line controlled
substances marketplaces.

14. Between March 2008 and June 2010, defendants WILLEMS
and EVRON would distribute, and aid and abet the distribution of,
at least 1,489 ounces of marijuana through approximately 3,111
individual sales, via the on-line controlled substances
marketplaces.

15. During July 2009, defendants WILLEMS and EVRON would
distribute, and aid and abet the distribution of, at least 350
units of fentanyl, via the on-line controlled substances
marketplaces.

16. Defendant EVRON would order hashish from the
Adamflowers on-line controlled substances marketplace.

17. Defendant JONATHAN COLBECK would serve as a cash drop
for the on-line controlled substances marketplaces by accepting
payments for orders of controlled substances from customers and
forwarding the payments, less his commission, to defendant
WILLEMS and unindicted coconspirators who supplied controlled
substances distributed via the on-line controlled substances

marketplaces.

 

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18. Between November 2008 and May 2010, defendant JONATHAN
COLBECK would mail from 10wa to defendant WILLEMS in the
Netherlands approximately 134 separate envelopes containing a
total of approximately $124,310, 11,125 euros, and 2,088 British
pounds, which represented payments for prior orders of controlled
substances made via the on-line controlled substances
marketplaces.

19. Between December 2008 and March 2010, defendant
JONATHAN COLBECK would send defendant WILLEMS a total of
approximately 36 Western Union orders totaling approximately
$47,652 as payments for shipments of controlled substances
distributed via the on-line controlled substances marketplaces.

20. Between April 2011 and August 2011, defendant BRIAN
COLBECK would receive approximately $261,029 in Paypal transfers
from customers of The Farmer's Market for purchases of controlled
substances, including $2,160 for the purchase of over 30 grams of
LSD by an agent of the Drug Enforcement Administration (“DEA”)
acting in an undercover capacity (the “UC”), and would send
approximately $54,000 from his Paypal account to defendant
JONATHAN COLBECK and other unindicted co-conspirators.

21. Between October 2010 and May 2011, defendant BRIAN
COLBECK would wire transfer a total of approximately $60,034 in
funds received from customers of The Farmer's Market from
Michigan to foreign countries.

22. Between July 2010 and March 2011, defendant BIGRAS
would receive approximately $81,809 of Paypal transfers from
customers of The Farmer's Market for purchases of controlled

substances, and would send approximately $20,108 from his Paypal

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account, which included payments to an unindicted co-
conspirator.

23. Between June 2010 and December 2011, defendant BIGRAS
would wire transfer a total of approximately $76,398 in funds
received from customers of The Farmer’s Market from Palm Bay,
Florida, to foreign countries.

24. Between October 2010 and July 2011, defendant MATZEK
would receive approximately $186,221 of Paypal transfers from
customers of The Farmer's Market for purchases of controlled
substances and would send approximately $14,560 from his Paypal
account, which included payments to defendant BRIAN COLBECK and
other unindicted co-conspirators.

25. Between September 2010 and June 2011, defendant MATZEK
would wire transfer a total of approximately $119,721 in funds
received from customers of The Farmer's Market from Secaucus, New
Jersey, and Florida to foreign countries.

C. OVERT ACTS

1n furtherance of the conspiracy and to accomplish the
objects of the conspiracy, on or about the following dates,
defendants WILLEMS, EVRON, JONATHAN COLBECK, RAWLS, DUGAN, BRIAN
COLBECK, BIGRAS, and MATZEK, and others known and unknown to the
Grand Jury, committed various overt acts within the Central
District of California, and elsewhere, including but not limited
to the following:

1. On March 7, 2006, using coded language in an e~mail
communication, defendant EVRON advised defendant WILLEMS of the

1P address for their on~line controlled substances marketplace

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and instructed defendant WILLEMS how to input the necessary
passwords to use the website.

2. On‘July 13, 2006, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS that their
on~line controlled substances marketplace should be operational
by the end of the following week if defendant WILLEMS was able to
successfully install and configure an e-mail program for
Hushmail.

3. On October 2, 2006, using coded language in an e-mail
communication, defendant EVRON directed defendant WILLEMS to
refer to him as “Keysh” in all written communications.

4. On January 12, 2007, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS that their
controlled substances sales were much better that week and they
would be rich soon if sales continued to grow at the same level.

5. On March 1, 2007, using coded language in an e-mail
communication, defendant EVRON informed unidentified controlled
substances suppliers how to package their controlled substances
and instructed them how controlled substances orders would
appear, be processed, and get tracked on the on-line marketplace.

6. On April 30, 2007, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS that he
believed Pecunix and Virtualgold were the best means of accepting

payment for controlled substances because they did not verify

~identification information,

7. On June 27, 2007, defendant JONATHAN COLBECK wired

$1,200 to R.P. in Lelystad, Netherlands, via Western Union,

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8. On July 30, 2007, defendant JONATHAN COLBECK wired
$1,000 to defendant WILLEMS in Lelystad, Netherlands, via Western
Union,

9. On August 12, 2007; using coded language in an
electronic communication, defendant WILLEMS told an unidentified
individual that he had written a computer program that generated
between 3,000 and 20,000 euros per month, which he received
through bank wires, Western Union transfers, e-gold, Pecunix, and
cash, and that he was looking for ways to avoid paying taxes on
these funds without drawing the attention of European or other
governments.

10. On August 19, 2007, using coded language in an e-mail
communication, defendant WILLEMS directed an unindicted co-
conspirator to send payment for a controlled substances order via
Western Union to his wife in Rio de Janeiro, Brazil.

11. On September 11, 2007, using coded language in an e-
mail communication, defendant WILLEMS directed an unindicted co-
conspirator to send payment for an order of 100 hits of LSD and
four units of marijuana via Western Union to him in the
Netherlands,

12. On October 8, 2007, using coded language in an e-mail
communication, defendant EVRQN advised defendant WILLEMS that he
believed Hushmail was an encrypted and safe method of
communication and that Hushmail would not produce e-mails to law
enforcement officers.

13. On October 15, 2007, using coded language in an e-mail
communication, defendant WILLEMS directed an unindicted co-

conspirator to send $1,200 via Western Union as payment for an

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order of hashish and LSD to him in the Netherlands instead of to
Panama,

14. On November 5, 2007, defendant JONATHAN COLBECK wired
$950 to defendant WILLEMS' wife in Rio de Janeiro, Brazil, via
Western Union.

15. On November 16, 2007, using coded language in an e-mail
communication, defendant EVRON offered to assist a potential
controlled substances source of supply with configuring and
operating the computer software and hardware necessary to use the
on-line controlled substances marketplace.

16. On February 25, 2008, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$19,834 since January 1, 2008, via Western Union, for loading
onto a pre-paid debit card, bearing account number ####-####-
####-3101, in the name R.G.P.

17. On August 27, 2008, defendant JONATHAN COLBECK wired
$1,000 to defendant WILLEMS' wife in Rio de Janeiro, Brazil, via
Western Union. l

18. On September 10, 2008, using coded language in a series
of e-mail communications, defendant WILLEMS asked whether an
unindicted co-conspirator could make payment for a recent
controlled substances shipment to an address in Singapore, and
the unindicted co-conspirator told defendant WILLEMS that he had
sent $1,230 as payment for four ounces of marijuana to him in the

Netherlands via Western Union.

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19. On September 23, 2008, defendant JONATHAN COLBECK wired
$1,700 to defendant WILLEMS' wife in Rio de Janeiro, Brazil, via
Western Union.

20. On October 13, 2008, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$1,816 via Western Union from individuals in Wisconsin, Illinois,
Texas, and the United Kingdom; and defendant WILLEMS asked the
unindicted co-conspirator to load the funds onto a pre-paid debit
card, bearing account number ####-####-####-3101, in the name
R.G.P. as soon as possible.

21. On November 5, 2008, using coded language in an e-mail
communication, defendant EVRON advised defendant WILLEMS that he
had a friend who was interested in selling as much LSD and MDMA
as they could supply and asked defendant WILLEMS for bulk pricing
on LSD and MDMA.

22. On November 6, 2008, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS to send a
one-ounce order of hashish to his mailbox in Costa Rica.

23. On November 19, 2008, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS that he
would take over controlled substances order processing and
customer support for a larger percentage of their profits, which
he hoped would increase their controlled substances sales and
profits,

24. On November 27, 2008, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-

conspirator that he would advise the unindicted co-conspirator if

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the marijuana, marijuana edibles, and hashish the unindicted co-
conspirator supplied was of sufficient quality when he received
the shipment.

25. On November 29, 2008, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator to send cash payments in the United States to
defendant JONATHAN COLBECK's address in Cedar Rapids, 10wa, and
to send cash payments in Europe to defendant WILLEMS' address in
Lelystad, Netherlands,

26. On December 13, 2008, using coded language in a series
of e-mail communications, defendant WILLEMS told an unindicted
co-conspirator that he would start shipping controlled substances
to the unindicted co-conspirator the following day and directed
the unindicted co-conspirator to send payment to defendant
WILLEMS' name, not the name “jozef.”

27, On January 8, 2009, using coded language in an e-mail
communication, defendant WILLEMS offered to provide defendant
JONATHAN COLBECK with 25% of the gross sales conducted through
defendant JONATHAN COLBECK's menus on their on-line controlled
substances marketplace. 4

28. On January 16, 2009, using coded language in a series

of e-mail communications, defendant WILLEMS told an unindicted

co-conspirator that the prices had dropped for LSD and that he

would have the unindicted co-conspirator's on~line controlled
substances menu available for customers in the United States
quickly if the unindicted co-conspirator was still interested in

selling controlled substances in the United States.

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29. On February 3, 2009, defendant RAWLS wired $800 via
Western Union to A.F. in Budapest, Hungary.

30. On February 5, 2009, defendant BIGRAS wired $85 via
Western Union from Palm Bay, Florida, to A.F. in Budapest,
Hungary.

31. On February 17, 2009, defendant BIGRAS wired $80 via
Western Union from Palm Bay, Florida, to A.F. in Budapest,
Hungary.

32. On February 17, 2009, defendant RAWLS wired $1,100 via
Western Union to A.F. in Budapest, Hungary.

33. On February 26, 2009, defendant BIGRAS wired $100 via
Western Union from Palm Bay, Florida, to A.F. in Budapest,
Hungary.

34. On March 9, 2009, defendant JONATHAN COLBECK wired
$1,000 via Western Union to B.P. in Budapest, Hungary.

35. On March 9, 2009, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received $1,000 from a
sender in 10wa and asked her to load the funds onto a pre-paid
debit card, bearing account number ####-####-####-3101, in the
name R.G.P. ¢

36. On March 19, 2009, defendants WILLEMS and EVRON agreed
to ship 25 hits of LSD to the UC in Los Angeles, California, whom
they believed was an LSD customer, in exchange for $180 to be
sent via Western Union to A.F. in Budapest, Hungary.

37. On March 25, 2009, defendant BIGRAS wired $116 via
Western Union from Palm Bay, Florida, to A.F. in Budapest,

Hungary.

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38. On March 26, 2009, defendant BIGRAS wired $100 via
Western Union from §alm Bay, Florida) to A.F. in Budapest,
Hungary.

39. On March 28, 2009, defendant BIGRAS wired $125 via
Western Union from Palm Bay, Florida, to A.F. in Budapest,
Hungary.

40. On March 29, 2009, using coded language in an e-mail
communication, defendant DUGAN told an unidentified co-
conspirator that he had 85% pure MDMA available that cost between
$120 and $175 per gram in his area and that he was willing to
exchange it for marijuana edibles.

41. On March 31, 2009, using Coded language in an e-mail
communication, defendant DUGAN told defendant EVRON that he had
wired $1,110 via Western Union as payment for three-quarters of a
pound of marijuana and 25 hits of LSD.

42. On April 2, 2009, using coded language in an e-mail
communication, defendant BIGRAS told defendant WILLEMS that he
had received an order for marijuana.

43. On April 5, 2009, using Coded language in an e-mail
Communication, defendant DUGAN advised an unidentified Co-
conspirator how to properly ingest his MDMA powder for the
maximum effect and stated that he never diluted his MDMA.

44. On April 8, 2009, using coded language in an e-mail
communication, defendant EVRON told the UC that he should still
wire payment for Controlled substances to A.F. in Budapest,
Hungary.

45. On April 9, 2009, using Coded language in an e-mail

communication, defendant DUGAN told an unidentified co-

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conspirator that he was selling LSD for $15 per hit and MDMA in
half-gram quantities for $80 or gram quantities for $150.

46. On April 10, 2009, defendants WILLEMS and EVRON agreed
to ship 100 hits of LSD to the UC in Los Angeles, California, in
exchange for $600 to be sent via Western Union to A.F. in
Budapest, Hungary.

47. On April 13, 2009, defendant BIGRAS wired $190 via
Western Union from Palm Bay, Florida, to A.F. in Budapest,
Hungary.

48. On April 15, 2009, using coded language in an e-mail
communication, defendant DUGAN told defendant EVRON that he
wanted to order one-half pound of marijuana, one sheet of LSD,
and eight units of psilocybin mushrooms.

49. On April 16, 2009, defendant DUGAN wired $1,930 via
Western Union to A.F. in Budapest, Hungary, as payment for six
ounces of marijuana, 100 hits of LSD, and two units of psilocybin
mushrooms.

50. On April 17, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant EVRON
that One of the cash orders had been miscounted and failed to
include $100.

51. On April 28, 2009, using coded language in an e-mail
communication, defendant DUGAN told defendant EVRON that he had
plenty of MDMA available and would like to become a controlled
substances vendor on the Adamflowers marketplace.

52. On April 28, 2009, using coded language in an e-mail

communication, defendant EVRON provided defendant DUGAN with the

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details about how defendants EVRON and WILLEMS conducted business
with controlled substances vendors.

53. On April 29, 2009, using coded language in an e-mail
communication, defendant DUGAN told defendant EVRON that he could
obtain one kilogram of MDMA if defendant EVRON thought that
amount would sell quickly.

54. On April 29, 2009, using coded language in an e-mail
communication, defendant DUGAN told defendant EVRON that he
packaged and delivered his controlled substances carefully and
wrapped the controlled substances in the same manner as
defendants WILLEMS and EVRON.

55. On April 29, 2009, using coded language in an e-mail
communication, defendant WILLEMS told defendant EVRON that LSD
was in stock and MDMA was available, and defendant WILLEMS asked
defendant EVRON to send him $1,000 worth of Pecunix in order to
pay for a computer server.

56. On April 30, 2009, using coded language in an e-mail
communication, defendant DUGAN told defendant EVRON that he was
selling LSD quickly and asked defendant EVRON to send him an
additional 280 hits of LSD the following day.

57. On April 30, 2009, using coded language in an e-mail
communication, defendant DUGAN told defendant EVRON that he would
ship out a controlled substances order the next day and informed
defendant EVRON that he had obtained 28 additional grams of MDMA.

58. On May l, 2009, using coded language in an e-mail
communication, defendant EVRON informed customers and controlled
substances suppliers about how to access and use their on-line

controlled substances marketplace and instructed them to direct

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any questions regarding controlled substances orders to
adamflowers@hush.ai.

59. On May 1, 2009, using coded language in an e-mail
communication, defendant EVRON told the UC that they did not
accept cash as payment for LSD.

60. On May 1, 2009, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received $800 from a
sender in 10wa and asked her to load the funds onto a pre-paid
debit card, bearing account number ####-####-####-3101, in the
name R.G.P.

61. On May 3, 2009, using coded language in an e-mail
communication, defendant DUGAN told defendant W1LLEMS to send him
125 hits of LSD to an address on Garnet Street in North Babylon,
New York.

62. On May 5, 2009, defendants W1LLEMS and EVRON agreed to
ship 10.5 grams and 20 doses of MDMA to the UC in Los Angeles,
California, in exchange for $630 and $456, respectively, to be
sent via Western Union to A.F. and P.B. in Budapest, Hungary.

63. On May 7, 2009, defendant BIGRAS wired $475 via Western
Union from Palm Bay, Florida, to A.F. in Budapest, Hungary.

64. On May 8, 2009, using coded language in an e-mail
communication, defendant W1LLEMS asked the UC to change the
receiver name on the Western Union payment for his recent order
of MDMA from P.B. to B.P. so defendant W1LLEMS could collect the
funds.

65. On May 8, 2009, using coded language in an e-mail

communication, defendant WILLEMS told an unindicted co-

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conspirator in Panama that she should have received a total of
$3,965 via Western Union from individuals in Georgia, Tennessee,
North Carolina, Colorado, Texas, Arizona, and Long Beach,
California; and defendant WILLEMS asked the unindicted co-
conspirator to load the funds onto a pre-paid debit card, bearing
account number ####-####-####-3101, in the name R.G.P.

66. On May 8, 2009, using coded language in an e-mail
communication, defendant WILLEMS told defendant EVRON that he
earned $2,935 based upon $29,350 of controlled substances sales
that week and that he had $1,935 transferred to his account, so
he owed defendant EVRON $1,000.

67. On May 8, 2009, using coded language in an e-mail
communication, defendant DUGAN told the UC that he should receive
two grams of MDMA within one week and offered to sell MDMA for
$170 per gram.

68. On May 10, 2009, defendant EVRON transferred 282 gold
administration units via Pecunix from keysh@hush.ai into a
business account in the name evronm@dtcinc.net.

69. On May 11, 2009, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$1,416 via Western Union from individuals in Minnesota, Texas,
Virginia, Illinois, and Los Angeles, California; and defendant
WILLEMS asked the unindicted co-conspirator to load the funds
onto a pre-paid debit card, bearing account number ####~####~
####~3101, in the name R.G.P.

70. On May 11, 2009, using coded language in an e-mail

communication, defendant DUGAN told defendant EVRON that his

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controlled substances menu under the name “Dreaming Trees” was
operational.

71. On May 13, 2009, using coded language in a series of e-
mail communications, defendant WILLEMS asked an unindicted co-
conspirator in Panama whether he could have dollars from
controlled substances customers delivered to the bank in
Budapest, Hungary, and have this money loaded onto a pre-paid
debit card in future transactions, and the unindicted co-
conspirator tOld defendant WILLEMS that they could accept $5,000
cash deposits in the Hungary account only once per month.

72. On May 14, 2009, using coded language in an e-mail
communication, defendant DUGAN told an unidentified co-
conspirator in Denver, Colorado, that he was an external vendor
for Adamflowers and sold high-quality MDMA for $175 per gram
shipped.

73. On May 14, 2009, using coded language in an e-mail
communication, defendant EVRON advised the UC that the MDMA order
the UC placed on May 5 should ship in the next few days.

74. On May 14, 2009, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that his records showed that she should
have received a total of $6,550 via Western Union from
individuals in 10wa, North Carolina, Georgia, Connecticut,
Florida, Kentucky, New York, Tennessee, Colorado, Texas, and Long
Beach, California, and that he should have another $1,670
available for pick-up which was sent by individuals in Arizona,
Minnesota, Texas, Virginia, Illinois, and Los Angeles,

California,

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75. On May 14, 2009, defendant BIGRAS wired $195 via
Western Union from Palm Bay, Florida, to A.F. in Budapest,
Hungary.

76. On May 16, 2009, using coded language in an e-mail
communication, defendant W1LLEMS apologized to the UC for the
delay in filling the UC's May 5 MDMA order.

77. On May 16, 2009, using coded language in an e-mail
communication, defendant DUGAN advised his controlled substances
customers that he had decided to start accepting Western Union as
a method of paying for controlled substances.

78. On May 17, 2009, using coded language in an e-mail
communication, an unidentified co-conspirator in Tennessee told
defendant DUGAN that he sent $400 via Western Union to defendant
DUGAN in the name of N.S. in North Babylon, New York, for two
grams of MDMA and other controlled substances.

79. On May 18, 2009, using coded language in an e-mail
communication, defendant DUGAN told an unidentified co-
conspirator that he had received $350 as payment for two grams of
MDMA.

80. On May 20, 2009, using coded language in an e-mail
communication, defendant DUGAN told an unidentified co-
conspirator to send a controlled substances payment via Western
Union to M.B. in Northport, New York.

81. On May 20, 2009, using coded language in an e-mail
communication, defendant DUGAN told the UC that he had received
the UC's order for five grams of MDMA and advised the UC that he
could make a payment via Western Union to M.B. in Northport, New

York.

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82. On May 20, 2009, defendants WILLEMS and EVRON agreed to
supply five grams of MDMA to the UC in Los Angeles, California,
in exchange for $825 in cash to be sent by mail in the name of
“John Dee” in North Babylon, New York.

83. On May 26, 2009, defendant DUGAN agreed to supply H.S ,
who was then 19 years old, .5 grams of MDMA for shipment to Fort
Collins, Colorado.

84. On May 28, 2009, defendant BIGRAS wired $275 via
Western Union from Palm Bay, Florida, to A.F. in Budapest,
Hungary.

85. On May 29, 2009, using coded language in an e-mail
communication, an unidentified co-conspirator ordered from
defendant DUGAN 25 hits of LSD for $250 and one gram of MDMA for
shipment to Scottsdale, Arizona.

86. On June 6, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
that, by September, he would have two additional post office
boxes to receive cash orders through the holidays.

87. On June 10, 2009, using coded language in an e-mail
communication, an unidentified co-conspirator told defendant
DUGAN that he had sent defendant DUGAN $1,975 via Western Union
for five sheets Of LSD for shipment to Sugar Land, Texas.

88. On June 10, 2009, using coded language in an e-mail
communication, defendants WILLEMS and EVRON told the UC that,
because they had received a large number of MDMA orders which had
caused delays in their ability to fill orders, they would be
willing to fill the UC's May 5, 2009 order for 10 grams of MDMA,

send him a refund for the order, or offer the UC a credit in the

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amount of his order towards the purchase of LSD, hashish, or
marijuana.

89. On June 11, 2009, defendants W1LLEMS and EVRON received
an e-mail communication containing coded language from the UC
stating that the UC would like to take the credit from his May 5
MDMA order and buy LSD instead.

90. On June 14, 2009, using coded language in an e-mail
communication, defendant MATZEK provided defendant W1LLEMS with
his zip code in connection with his order for one and one-half
grams of marijuana.

91. On June 16, 2009, defendants W1LLEMS and EVRON agreed
to ship 100 hits of LSD to the UC in Los Angeles, California, in
place of the MDMA the UC ordered on May 5, 2009,

92. On June 16, 2009, using coded language in an e-mail
communication, defendant BIGRAS told defendant W1LLEMS that he
had placed an order that day.

93. On June 16, 2009, defendant BIGRAS wired $420 via
Western Union from Palm Bay, Florida, to A.F. in Budakalasz,
Hungary.

94. On June 25, 2009, using coded language in an e-mail
communication, defendant BIGRAS told defendant W1LLEMS that he
had received one-half ounce of marijuana that he had ordered but
was still waiting to receive the other one-half ounce.

95. On July 6, 2009, defendant BIGRAS wired $365 via
Western Union from Palm Bay, Florida, to A.F. in Budakalasz,

Hungary.

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96. On July 10, 2009, defendants WILLEMS and EVRON agreed
to supply A.S., who was then 19 years old, 25 hits of LSD for
shipment to Oak Creek, Wisconsin.

97. On July 11, 2009, defendants WILLEMS and DUGAN agreed
to supply J.R., who was then 18 years old, .5 grams of MDMA for
shipment to Land O Lakes, Florida.

98. On July 12, 2009, using coded language in an e-mail
communication, defendant DUGAN asked an unidentified co-
conspirator whether he could send two separate Western Union
transfers of $555 each that day as payment for a controlled
substances shipment.

99. On July 13, 2009, defendant WILLEMS paid defendant
EVRON 55.6154 gold administration units, which was the equivalent
of $1,625, via Pecunix.

100. On July 16, 2009, defendant BIGRAS wired $385 via
Western Union from Palm Bay, Florida, to A.F. in Budakalasz,
Hungary.

101. On July 18, 2009, defendant WILLEMS paid defendant
EVRON 36.4870 gold administration units, which was the equivalent
of $1,100, via Pecunix.

102. On July 20, 2009, using coded language in an e-mail
communication, defendant DUGAN agreed to sell the UC seven grams
of MDMA for $1,050 because the UC was a good customer.

103. On July 20, 2009, using coded language in an e-mail
communication, defendant DUGAN told the UC to send $1,050 in cash
for seven grams of MDMA to Constantly Wired in North Babylon, New

York.

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104. On July 28, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendants WILLEMS
and EVRON that he had received a total of $1,610 in cash for
seven different controlled substances orders.

105. On July 29, 2009, using coded language in an e-mail
communication, defendant DUGAN advised the UC that he had shipped
seven grams of MDMA to the UC in Los Angeles, California,

106. On July 31, 2009, using coded language in an e-mail
communication, defendant EVRON ordered an ounce of marijuana from
the on~line controlled substances marketplace to be shipped to
Buenos Aires, Argentina.

107. On August 1, 2009, using coded language in an e-mail
communication, defendant WILLEMS advised defendant JONATHAN
COLBECK that Adamflowers could start accepting cash payments for
LSD in order to increase defendant JONATHAN COLBECK's income from
serving as a cash drop.

108. On August 7, 2009, using coded language in an e-mail
communication, defendant RAWLS asked defendant WILLEMS what the
price for a quarter pound of high-quality marijuana would be if
paid for via Western Union.

109. On August 8, 2009, defendants WILLEMS and EVRON agreed
to supply S.K., who was then 20 years old, 10 hits of LSD for
shipment to Cullowhee, North Carolina,

110. On August 10, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
that he should not try to send 16 letters containing cash in an
eight-day period in order to minimize the risk of getting caught

by law enforcement and asked defendant WILLEMS to send controlled

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substances to each of his post office boxes, but only cash to the
post office boxes in Center Point and Vinton, 10wa.

111. On August 18, 2009, defendant BIGRAS wired $235 via
Western Union from Palm Bay, Florida, to A.F. in Budakalasz,
Hungary.

112. On August 21, 2009, defendant WILLEMS paid defendant
EVRON 69.1743 gold administration units, which was the equivalent
of 1,465 euros, via Pecunix.

113. On August 21, 2009, defendant WILLEMS paid an
unindicted co-conspirator in Scotland, who was an LSD supplier,
38.7088 gold administration units, which was the equivalent of
820 euros, via Pecunix.

114. On August 24, 2009, defendant EVRON, via Pecunix,
transferred 263.8409 gold administration units, which was the
equivalent of $8,000, from keysh@hush.ai into a business account
in the name evronm@dtcinc.net.

115. On August 24, 2009, defendants WILLEMS and EVRON agreed
to ship two units of hashish oil to defendant JONATHAN COLBECK at
his address on Virden Street in Urbana, 10wa.

116. On September 3, 2009, using coded language in an e-mail
communication, defendant BRIAN COLBECK told defendant JONATHAN
COLBECK that he had made a controlled substances payment of
$427.65 via PayPal.

117. On September 4, 2009, defendant WILLEMS paid an
unindicted co-conspirator in Scotland, who was an LSD supplier,
7.5508 gold administration units, which was the equivalent of 168

euros, via Pecunix.

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118. On September 7, 2009, using coded language in an e-mail
communication, defendant WILLEMS asked defendant JONATHAN COLBECK
to send $1,000 to an unindicted controlled substances supplier at
a post office box in North Babylon, New York, and to send the
package with “tracking, but no signature required.”

119. On September 9, 2009, using coded language in an e-mail
communication, defendant BRIAN COLBECK told defendant JONATHAN
COLBECK that he had just placed a controlled substances order and
would make the payment via PayPal.

120. On September 9, 2009, using coded language in an e-mail
communication, defendant BRIAN COLBECK told defendant JONATHAN
COLBECK that he had made a controlled substances payment of
$211.67 via PayPal.

121. On September 11, 2009, defendants WILLEMS and EVRON
agreed to supply S.K., who was then 20 years old, 10 hits of LSD
for shipment to Cullowhee, North Carolina.

122. On September 12, 2009, using coded language in an
e-mail communication, defendant JONATHAN COLBECK asked an
unindicted controlled substances supplier to mail him marijuana
at his address on Virden Street in Urbana, 10wa.

123. On September 20, 2009, using coded language in an
e-mail communication, defendant JONATHAN COLBECK advised
defendant WILLEMS that he would send defendant WILLEMS a coded
e-mail if he were to get apprehended by law enforcement officers.

124. On September 21, 2009, defendants WILLEMS and EVRON
agreed to ship 500 hits of LSD to the UC in Los Angeles,
California, in exchange for $2,500 to be sent via Western Union

to A.F. in Budapest, Hungary.

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125. On September 22, 2009, defendant BIGRAS wired $160 via
Western Union from Palm Bay, Florida, to A.F. in Budakalasz,
Hungary.

126. On September 23, 2009, defendant JONATHAN COLBECK wired
$1,700 via Western Union to defendant WILLEMS' wife in Rio de
Janeiro, Brazil.

127. On September 24, 2009, using coded language in an e-
mail communication, defendant BRIAN COLBECK told defendant
JONATHAN COLBECK that he had made a controlled substances payment
of $151.95 via PayPal.

128. On September 25, 2009, defendants WILLEMS and EVRON
agreed to ship one-half ounce of marijuana, one-eighth ounce of
marijuana, and two vials of marijuana oil to the UC in Los
Angeles, California, in exchange for $288, $189, and $120,
respectively, all to be paid in cash and sent by mail to B.C. at
a post office box in Center Point, 10wa.

129. On September 25, 2009, using coded language in an
e-mail communication, defendant WILLEMS asked defendant JONATHAN
COLBECK to send $450 to an unindicted controlled substances
supplier at a post office box in Bristol, New Hampshire.

130. On September 26, 2009, using coded language in an
e-mail communication, defendant JONATHAN COLBECK told defendants
WILLEMS and EVRON that he had received a total of $1,580 in cash
for 12 different controlled substances orders, including cash
payments from the UC sent on September 21, 2009.

131. On September 28, 2009, using coded language in an
e-mail communication, defendant JONATHAN COLBECK told defendant

WILLEMS that, later that day, he would wire $1,950 via Western

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Union to defendant WILLEMS' wife in Rio de Janeiro, Brazil.

132. On September 28, 2009, defendant JONATHAN COLBECK wired
$1,900 via Western Union to defendant WILLEMS' wife in Rio de
Janeiro, Brazil.

133. On September 28, 2009, using coded language in an
e-mail communication, defendant JONATHAN COLBECK confirmed to
defendant WILLEMS that he had wire transferred $1,900 to
defendant WILLEMS' wife in Rio de Janeiro, Brazil, and asked
whether he should mail or wire transfer an additional $1,400 that
arrived that day.

134. On October 6, 2009, defendants WILLEMS and EVRON agreed
to supply B.L., who was then 19 years old, one ounce of marijuana
for shipment to Vero Beach, Florida.

135. On October 10, 2009, using coded language in an e-mail
communication, defendant WILLEMS asked defendant JONATHAN COLBECK
to send $615 to an unindicted controlled substances supplier in
Pennsylvania.

136. On October 27, 2009, using coded language in an e-mail
communication, defendant BRIAN COLBECK told defendant JONATHAN
COLBECK that he owed $742 for prior orders of marijuana.

137. On October 30, 2009, defendant JONATHAN COLBECK wired
$2,000 via Western Union to defendant WILLEMS' wife in Rio de
Janeiro, Brazil.

138. On October 30, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK confirmed to defendant
WILLEMS that he had wire transferred $2,000 to defendant WILLEMS'

wife in Rio de Janeiro, Brazil.

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139. On November 2, 2009, using coded language in an e-mail
communication, defendant BIGRAS thanked defendant EVRON for
posting information on an Adamflowers forum about defendant
BIGRAS converting funds in PayPal to Pecunix for controlled
substances customers.

140. On November 7, 2009, using coded language in an e-mail
communication, defendant BRIAN COLBECK told defendant JONATHAN
COLBECK that he had mailed $280 to a post office box in Atlanta,
Georgia, and included a letter stating that the cash was for two
one-half ounce orders of marijuana.

141. On November 9, 2009, defendant EVRON paid defendant
WILLEMS 211.0969 gold administration units, which was the
equivalent of 5,000 euros, via Pecunix.

142. On November 9, 2009, using coded language in a series
of e-mail communications and pursuant to defendant WILLEMS’
request, an unindicted co-conspirator in Panama provided
instructions to defendant WILLEMS about how he could load
approximately $10,000 onto defendant WILLEMS’ pre-paid debit card
by sending funds to Sovereign Management and Legal, S.A., by way
of wire transfer to their bank in Budapest, Hungary.

143. On November 9, 2009, using coded language in an e-mail
communication, defendant BRIAN COLBECK asked defendant JONATHAN
COLBECK when his marijuana shipment would arrive and asked
defendant JONATHAN COLBECK to send marijuana edibles to an
address on Coldwater 1sland Drive in Coldwater, Michigan.

144. On November 10, 2009, using coded language in an e-mail
communication, defendant EVRON told the operators of a private

on~line club providing a website to its members for exchanging

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electronic gold with each other that he and defendant WILLEMS
wanted to use the club to conduct transactions involving the sale
of marijuana, LSD, and other controlled substances.

145. On November ll, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant BRIAN
COLBECK that his order for marijuana edibles had been shipped to
an address on Senator Street in Detroit, Michigan.

146. On November 14, 2009, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS that he had
devised a solution to ensure that controlled substances suppliers
were only paid for orders received by customers and that, when
coupled with an invoicing scheme he had created, they should
eliminate the loss of monies to external controlled substances
suppliers and controlled substances customers.

147. On November 17, 2009, using coded language in an e-mail
communication, defendant WILLEMS asked defendant JONATHAN COLBECK
to send $1,150 to an unindicted controlled substances supplier in
Pennsylvania.

148. On November 18, 2009, using coded language in an e-mail
communication, defendant WILLEMS apologized to the UC for the
delay in shipping the UC's September 21, 2009 LSD order,
explained that they would resolve back orders of LSD soon, and
informed the UC that they would have a new on-line controlled
substances marketplace running in early 2010,

149. On November 20, 2009, using coded language in an e-mail
communication, defendant WILLEMS asked defendant JONATHAN COLBECK

to send $1,500 to an unindicted controlled substances supplier.

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150. On November 20, 2009, defendant W1LLEMS paid defendant
EVRON 46.8274 gold administration units, which was the equivalent
of 1,165 euros, via Pecunix.

151. On November 25, 2009, defendant JONATHAN COLBECK wired
$2,190 via Western Union to defendant W1LLEMS' wife in Rio de
Janeiro, Brazil.

152. On November 25, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK confirmed to defendant
W1LLEMS that he had wire transferred $2,190 to defendant W1LLEMS'
wife in Rio de Janeiro, Brazil.

153. On November 30, 2009, using coded language in an e-mail
communication, defendant EVRON apologized to the UC for the delay
in shipping the UC's September 21, 2009 LSD order and told the UC
the order had shipped a few hours earlier.

154. On December 1, 2009, using coded language in an e-mail
communication, defendant BRIAN COLBECK told defendant JONATHAN
COLBECK that he had made a controlled substances payment of
$101.24 via PayPal.

155. On December 1, 2009, using coded language in an e-mail
communication, defendant EVRON received a confirmation of his
order of one-half ounce of marijuana to be delivered to his
address in Buenos Aires, Argentina.

156. On December 6, 2009, using coded language in an e-mail
communication, defendant W1LLEMS told defendant EVRON that he had
discovered a problem with his existing on-line controlled
substances marketplace which was causing him to lose a great deal
of income and further told defendant EVRON that, within

approximately two or three months, he intended to change the

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manner in which the on~line controlled substances marketplace
operated.

157. On December 7, 2009, using coded language in an e-mail
communication, defendants W1LLEMS and EVRON told the UC that all
controlled substances orders had been shipped, including back
orders, and instructed the UC not to use a mail service that
requires the recipient to sign for the package for controlled
substances payments because their European cash recipients would
not sign for any packages.

158. On December 8, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK confirmed to defendant
W1LLEMS that he had wire transferred $2,500 to him and stated
that he still had $700 in cash in his possession, but had not
received any cash orders that day.

159. On December 10, 2009, using coded language in an e-mail
communication, defendant WILLEMS told defendant JONATHAN COLBECK\
to ship a controlled substances order to a customer in New Jersey
and advised defendant JONATHAN COLBECK that his share of the sale
would be $219, which would be in his weekly payment.

160. On December 15, 2009, using coded language in an e-mail
communication, defendant EVRON told the UC they had to split the
UC's order for 500 hits of LSD into two orders and the remaining
200 hits they had yet to ship to the UC would be shipped the next
day or the day after.

161. On December 19, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS

that he would wire transfer $2,500 to defendant WILLEMS the

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following day and asked defendant WILLEMS if he had any more
high-quality marijuana.

162. On December 20, 2009, using coded language in an e-mail
communication, defendant WILLEMS told defendant JONATHAN COLBECK
that he could send defendant JONATHAN COLBECK large quantities of
high-quality marijuana and instructed defendant JONATHAN COLBECK
to send him money via Western Union, not the mail, while
defendant WILLEMS was in Brazil with his wife.

163. On December 20, 2009, defendant JONATHAN COLBECK wired
$2,500 via Western Union to defendant WILLEMS' wife in Rio de
Janeiro, Brazil.

164. On December 21, 2009, using coded language in a series
of e-mail communications, an unindicted co-conspirator in Panama
told defendant WILLEMS that the current individual to whom
customer payments via Western Union should be sent was J.C.S. in
Budapest, Hungary.

165. On December 21, 2009, using coded language in an e-mail
communication, defendant WILLEMS told defendant JONATHAN COLBECK
that defendants WILLEMS and EVRON would no longer use him to
accept and forward cash for controlled substances orders because
defendants WILLEMS and EVRON believed their Western Union
recipient had been identified by law enforcement, and defendant
WILLEMS offered defendant JONATHAN COLBECK the opportunity to
become a large-scale external controlled substances vendor on
their on-line marketplace.

166. On December 21, 2009, using coded language in an e-mail
communication, defendant BIGRAS told defendant WILLEMS that he

had converted $3,000 in funds in PayPal to Pecunix for controlled

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substances customers and asked defendant WILLEMS to let him know
if they were planning to stop discounting controlled substances
orders paid via Pecunix because doing so would cut into defendant
BIGRAS' profits.

167. On December 21, 2009, using coded language in an e-mail
communication, defendant BIGRAS told defendant EVRON that he had
lost $300 in one transaction in which he converted funds in
PayPal to Pecunix for controlled substances customers and stated
that he believed he was providing a valuable service to their
community of on-line controlled substances dealers and
purchasers.

168. On December 21, 2009, using coded language in an e-mail
communication, defendant EVRON suggested to defendant WILLEMS
that defendant BIGRAS could become a PayPal receiver for their
on~line controlled substances marketplace.

169. On December 22, 2009, using coded language in an e-mail
communication, defendant WILLEMS told defendant JONATHAN COLBECK
that he was concerned about the amount of risk defendant JONATHAN
COLBECK was taking by both collecting and remitting controlled
substances proceeds to defendant WILLEMS and distributing
controlled substances for defendant WILLEMS.

170. On December 24, 2009, using coded language in an e-mail
communication, defendant BIGRAS told defendant EVRON that he
could accept PayPal payments from controlled substances
customers, charge a small commission, and then fund the remaining
amount to Pecunix for transfer to defendant WILLEMS.

171. On December 24, 2009, using coded language in an e-mail

communication, defendant JONATHAN COLBECK told defendant WILLEMS

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and his wife that he had enjoyed serving them by acting as a cash
drop for controlled substances customers and reselling controlled
substances.

172. On December 26, 2009, using coded language in an e-mail
communication, defendant EVRON ordered one-half ounce of
marijuana from the on-line controlled substances marketplace to
be shipped to Buenos Aires, Argentina.

173. On December 27, 2009, using coded language in an e-mail
communication, defendant BIGRAS told defendant EVRON that he had
concerns about accepting cash or Western Union transfers from
controlled substances customers because it could draw attention
to their activities and might result in lost cash, and therefore
he would prefer to accept PayPal payments and pay defendant
W1LLEMS via Pecunix.

174. On December 28, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told an unindicted
controlled substances supplier that he had several ounces of
marijuana resin in stock and estimated that he could generate
between $2,000 and $5,000 in income from the sale of the
marijuana.

175. On December 29, 2009, using coded language in an e-mail
communication, defendant EVRON told defendant BIGRAS that he and
defendant W1LLEMS wanted to receive the amount of money a
controlled substances customer paid for their order and defendant
BIGRAS could add whatever surcharge he wanted for the service of
accepting funds via PayPal.

176. On December 29, 2009, using coded language in a series

of e-mail communications, defendant BRIAN COLBECK told defendant

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JONATHAN COLBECK that he needed a total of three-quarters of an
ounce of marijuana and that he would be sending defendant
JONATHAN COLBECK a controlled substances payment soon.

177. On December 31, 2009, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
that he had wire transferred $1,800 to defendant WILLEMS and had
not received any cash in the mail that day.

178. On January 4, 2010, using coded language in an e-mail
communication, defendant WILLEMS informed customers and
controlled substances sources of supply using his on-line
controlled substances marketplace that the marketplace had gross
sales in excess of $500,000 during 2009; and defendant WILLEMS
advised the customers and suppliers that defendant EVRON had
developed a new way to operate the on-line marketplace featuring
improved security, better inventory management, current
controlled substances menus, and consolidated payment methods
even if customers ordered from multiple vendors, all of which
would replace their current system in the near future.

179. On January 4, 2010, using coded language in an e-mail

communication, defendant EVRON told the UC that, if the remaining

100 hits of LSD from the UC's September 21, 2009 order did not
arrive by the end of the week, the UC should send defendant EVRON
the order number and he would get the remaining LSD sent out.

180. On January 5, 2010, using coded language in an e-mail
communication, defendant EVRON received a confirmation of his
order of one-half ounce of marijuana to be delivered to his

address in Buenos Aires, Argentina.

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181. On January 5, 2010, using coded language in an e-mail
communication, defendants WILLEMS and EVRON told customers of
Adamflowers that they were ready to transition to the TOR network
and provided customers with the TOR address of The Farmer’s
Market.

182. On January 8, 2010, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS why he did
not believe they should modify the pricing system for their
on-line controlled substances marketplace.

183. On January 10, 2010, using coded language in an e-mail
communication, defendant EVRON gave defendant BIGRAS instructions
on how to accept PayPal payments.

184. On January 13, 2010, using coded language in an e-mail
communication, defendant BIGRAS told defendant JONATHAN COLBECK
that he had funded defendant JONATHAN COLBECK’s Pecunix account
With $200.

185. On January 13, 2010, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$1,631 via Western Union from individuals in Florida, Washington,
DC, 1ndiana, Georgia, Canada, and the United Kingdom; and
defendant WILLEMS asked the unindicted co-conspirator to load the
funds onto a pre-paid debit card account, bearing number ####-
####~####-3101, in the name R.G.P.

186. On January 14, 2010, using coded language in an e-mail
communication, defendant WILLEMS informed customers and
controlled substances sources of supply using his on~line

controlled substances marketplace that he did not complete the

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previous week's invoicing and was available for approximately two
hours that day to resolve any problems they might have been
experiencing.

187. On January 15, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant EVRON
that Adamflowers and The Farmer’s Market had been using the
address “B. Colbeck” at a post office box in Center Point, 10wa,
as the United States cash drop.

188. On January 16, 2010, using coded language in an e-mail
communication, defendant WILLEMS told the UC that several
controlled substances orders from early December 2009 were still
pending and, because defendant WILLEMS was re-stocking his
controlled substances supplies, the UC should contact defendant
WILLEMS in one or two weeks concerning the remaining 100 hits of
LSD outstanding from the UC's September 21, 2009 order.

189. On January 20, 2010, using coded language in an e-mail
communication, defendant BRIAN COLBECK told defendant JONATHAN
COLBECK that he had made a controlled substances payment of
$312.17 via PayPal.

190. On January 26, 2010, using coded language in a series
of e-mail communications, an unindicted co-conspirator in Panama
told defendant WILLEMS that starting February 1, 2010, the
individual to whom customer payments via Western Union should be
sent was B.P. in Budapest, Hungary.

191. On January 27, 2010, using coded language in an e-mail
communication, defendant WILLEMS advised defendant JONATHAN

COLBECK to send him $2,500 via Western Union as soon as possible

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and reiterated that he wanted to pay defendant JONATHAN COLBECK a
seven percent commission,

192. On January 28, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
that he had wire transferred $2,500 to defendant WILLEMS.

193. On January 29, 2010, defendant JONATHAN COLBECK
received four pieces of mail sent from the Netherlands addressed
to “BJC and Associates” at a post office box in Vinton, Iowa.

194. On January 29, 2010, defendant JONATHAN COLBECK
received five pieces of mail sent from the Netherlands addressed
to B.C. at a post office box in Center Point, 10wa.

195. On February 1, 2010, using coded language in an e-mail
communication, defendant MATZEK told defendant W1LLEMS that he
had sent $60 to him via Western Union and that all the
information on the Western Union transfer was false except for
the name and transfer number.

196. On February 2, 2010, defendants WILLEMS and EVRON
agreed to ship one-half ounce of marijuana to defendant JONATHAN
COLBECK at his address on Virden Street in Urbana, 10wa.

197. On February 2, 2010, using coded language in an e-mail
communication, defendant W1LLEMS told defendant RAWLS that
defendant RAWLS' order for three ounces of marijuana had been
shipped to an address on Deer Trail in Alpharetta, Georgia,

198. On February 3, 2010, defendant EVRON, via Pecunix,
transferred 195.3636 gold administration units, which was the
equivalent of 5,000 euros, from keysh@hush.ai into a business

account in the name evronm@dtcinc.net.

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199. On February 4, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant EVRON that they
should send an e-mail to their customers advising the customers
that their European money collector and Western Union receiver
were apprehended by law enforcement in January 2010, which caused
their on-line controlled substances marketplace to change the
manner in which it handled the shipping of controlled substances
and receipt of controlled substances payments.

200. On February 5, 2010, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$1,411 via Western Union from individuals in Florida, Colorado,
New Jersey, New York, and the United Kingdom; and defendant
WILLEMS asked the unindicted co-conspirator to load the funds
onto a pre-paid debit card, bearing account number ####-####-
####-3101, in the name R.G.P.

201. On February 9, 2010, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS that he had
repaired a few technical problems with the on~line controlled
substances marketplace's invoicing codes, added a listing for all
shipped orders, and updated information pertaining to Western
Union transfers,

202. On February 13, 2010, defendant JONATHAN COLBECK
received five pieces of mail sent from the Netherlands addressed
to “BJC and Associates” at a post office box in Vinton, 10wa.

203. On February 13, 2010, using coded language in a series
of e-mail communications, defendants EVRON and WILLEMS discussed

their respective responsibilities in the on~line controlled

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substances marketplace and what percentage of the profits they
each took.

204. On February 15, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant EVRON that he
wanted to receive 10% of the gross sales regardless of the system
they used to distribute controlled substances, that he would be
available to assist in maintaining and growing their controlled
substances distribution business, and that defendant EVRON would
be responsible for handling the financial aspects of their
controlled substances distribution business.

205. On February 15, 2010, using coded language in an e-mail
communication, defendant EVRON told defendant WILLEMS that he was
going to change the passwords on the Pecunix, iGolder, and United
States cash accounts in order to enhance security in light of
their recent change in responsibilities concerning the on-line
controlled substances marketplace.

206. On February 16, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK directed a controlled
substances customer ordering marijuana to make a payment via
PayPal at defendant JONATHAN COLBECK's e-mail address and make a
cash payment to “BGC” at a post office box in Center Point, 10wa,

207. On February 16, 2010, using coded language in an e-mail
communication, defendant EVRON apologized to the UC for the delay
in shipping the remaining 100 hits of LSD they owed the UC from
his September 21, 2009 order and told the UC that defendant
WILLEMS was handling outstanding controlled substances orders.

208. On February 16, 2010, using coded language in an e-mail

communication, defendant WILLEMS apologized to the UC for the

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delay in shipping the remaining 100 hits of LSD they owed the UC
from his September 21, 2009 order, offered to send the UC the 100
hits of LSD at the price of the insurance normally offered for
controlled substances orders, and directed the UC to send the
money via Western Union to B.P. in Budapest, Hungary.

209. On February 16, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant JONATHAN COLBECK
that he directed cash-paying controlled substances customers to
mail cash payments to “GBC” at a post office box in Walker, 10wa,

210. On February 16, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK informed defendant
WILLEMS that he had collected 16 letters containing cash payments
for controlled substances that day and he had $1,500 and 70 euros
in his possession,

211. On February 18, 2010, using coded language in an on-
line communication, defendant BIGRAS posted a message to a forum
on The Farmer's Market providing instructions on how to make
controlled substances payments via PayPal.

212. On February 21, 2010, using coded language in a series
of e-mail communications, defendant JONATHAN COLBECK told
defendant BRIAN COLBECK to start selling LSD for between $12 and
$15 per hit in order to maximize defendant BRIAN COLBECK's
investment and gave defendant BRIAN COLBECK pricing information
for additional controlled substances,

213. On February 22, 2010, using coded language in a series
of e-mail communications, defendant BRIAN COLBECK told defendant
JONATHAN COLBECK that he would have a $300 payment for LSD for

him in a few days.

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214. On February 22, 2010, using coded language in an e-mail
communication, defendant W1LLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$799 via Western Union from individuals in North Carolina,
Alabama, and Scotland; and defendant W1LLEMS asked the unindicted
coconspirator to load the funds onto a pre-paid debit card,
bearing account number ####-####-####-3101, in the name R.G.P.

215. On February 22, 2010, using coded language in an e-mail
communication, defendant EVRON told defendant W1LLEMS that he had
burned himself trying to assemble packages of controlled
substances for shipping.

216. On February 24, 2010, defendant JONATHAN COLBECK wired
$2,500 via Western Union to defendant W1LLEMS' wife in Rio de
Janeiro, Brazil.

217. On February 24, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
that he had wire transferred $2,500 to defendant WILLEMS.

218. On February 28, 2010, defendant EVRON told defendant
W1LLEMS that he had instructed an unidentified individual to wire
$1,500 to defendant W1LLEMS' pre-paid debit card, and advised
defendant W1LLEMS that he had sent 250 euros to
rubywp@hushmail.com and had requested a $3,765 wire transfer to
the bank account of Sovereign Management and Legal, S.A., in
Budapest, Hungary.

219. On March 5, 2010, using coded language in an e-mail
communication, defendant BRIAN COLBECK told defendant JONATHAN

COLBECK that he was sending a $250 payment via PayPal that day.

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220. On March 9, 2010, using coded language in a series of
e-mail communications, an unindicted co-conspirator in Panama
told defendant WILLEMS that starting on March 16, 2010, the
individual to whom customer payments should be sent via Western
Union was L.P. in Budapest, Hungary.

221. On March 10, 2010, defendant WILLEMS agreed to send an
undercover agent of the Drug Enforcement Administration (“UC2”)
in Cedar Rapids, 10wa, 150 hits of LSD for delivery to Marion,
10wa, for $630 in cash, which was sent via the mail to defendant
JONATHAN COLBECK in Center Point, 10wa,

222. On March 12, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant RAWLS that he
would give defendant RAWLS exclusive LSD sales in the United
States and Canada, he could easily send 5,000 to 10,000 hits of
LSD per week to defendant RAWLS if defendant RAWLS had two
different addresses to which he could send the LSD, and they
could spread the sending of controlled substances payments out by
using Western Union, PayPal, Pecunix, wire transfers, and cash.

223. On March 15, 2010, defendant JONATHAN COLBECK wired
$2,250 via Western Union to defendant WILLEMS' wife in Rio de
Janeiro, Brazil.

224. On March 15, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
that he had wire transferred $2,250 to defendant WILLEMS.

225. On March 16, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK presented defendant

WILLEMS with the name of a new controlled substances source of

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supply who wished to sell controlled substances on their on~line
marketplace.

226. On March 16, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant BRIAN
COLBECK the user name and password to use in order to access The
Farmer's Market.

227. On March 20, 2010, using coded language in an e-mail
communication, defendant RAWLS told defendant WILLEMS that he had
$20,000 available to invest in The Farmer's Market.

228. On March 22, 2010, using coded language in an e-mail
communication, defendant WILLEMS advised defendant RAWLS that he
would send him 8,000 LSD hits for his $20,000 investment in The
Farmer's Market and stated that defendant EVRON could advise
defendant RAWLS about how to handle the financial transaction.

229. On March 23, 2010, using coded language in an on~line
communication, defendant RAWLS posted a message to a forum on The
Farmer's Market stating that he would start selling LSD
throughout the United States in a few weeks and anticipated
having sufficient quantities available for sale to eliminate
future back orders.

230. On March 24, 2010, using coded language in an e-mail
communication, defendant EVRON received a confirmation of his
order of marijuana seeds to be delivered to his address in Ciudad
de Buenos Aires, Argentina.

231. On March 26, 2010, using coded language in an e-mail
communication, defendant EVRON informed defendant WILLEMS of the
amount of money they earned that week, advised defendant WILLEMS

that he now owed defendant EVRON 11,849 euros, and stated that

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defendant RAWLS would be wiring defendant WILLEMS $20,000 the
upcoming week,

232. On March 26, 2010, using coded language in an e-mail
communication, defendant MATZEK told defendant WILLEMS that he
had received his order for one ounce of marijuana shipped to SUNY
Fredonia, Hemingway Hall, Fredonia, New York.

233. On March 30, 2010, using coded language in an e-mail
communication, defendant BIGRAS told defendant EVRON that,
between February 24 and March 29, 2010, he had sent five wire
transfers totaling 5,187 euros, which was the equivalent of
$7,333, to Sovereign Management and Legal, S.A., in Panama City,
Panama, via Bank of America

234. On April 4, 2010, using coded language in a series of
e-mail communications, defendant JONATHAN COLBECK told defendant
BRIAN COLBECK to mail three different LSD orders totaling 20 hits
to addresses in Minnesota, Alabama, and New Jersey.

235. On April 5, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant EVRON that
defendant RAWLS had wired 4,205.13 euros, which was the
equivalent of $5,887.93, to defendant EVRON that day and intended
to send one additional wire and one Pecunix transfer that week,

236. On April 7, 2010, defendant EVRON, via Pecunix,
transferred 54.8418 gold administration units, which was the
equivalent of $2,000, from keysh@hush.ai into a business account
in the name evronm@dtcinc.net.

237. On April 8, 2010, using coded language in an e-mail
communication, defendant EVRON advised an unidentified controlled

substances customer that he operated The Farmer's Market and

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asked the customer to let him know what controlled substances he
may be interested in purchasing.

238. On April 12, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant EVRON that
defendant RAWLS had wired 3,822.82 euros, which was the
equivalent of $5,385.47.

239. On April 13, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendants EVRON and RAWLS
that he had received a transfer of 4,000 euros onto his pre-paid
debit card and asked defendant RAWLS for an address to which to
send defendant RAWLS' LSD.

240. On April 14, 2010, using coded language in an e-mail
communication, defendant RAWLS told defendant WILLEMS to ship LSD
to him at either Rebound Consulting on Highway 9 in Alpharette,
Georgia, or Creative Concepts 1nbound on Jordan Court in
Alpharette, Georgia.

241. On April 18, 2010, using coded language in an e-mail
communication, defendant BIGRAS told defendant JONATHAN COLBECK
to mail marijuana resin to him at an address on Glencove Avenue
Northwest in Palm Bay, Florida.

242. On April 20, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
that he wanted to provide defendant BRIAN COLBECK with LSD and
lower-quality marijuana to resell through his own on~line order
menu.

243. On April 21, 2010, using coded language in an e-mail

communication, defendant EVRON received a confirmation of his

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order of marijuana seeds to be delivered to his address in Ciudad
de Buenos Aires, Argentina.

244. On April 23, 2010, using coded language in a private
message communication, defendant EVRON told the UC that he did
not have access to orders placed on the Adamflowers marketplace
and directed the UC to contact defendant WILLEMS about the 100
hits of LSD they owed the UC from his September 21, 2009 order.

245. On April 23, 2010, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$1,696 via Western Union from individuals in Pennsylvania, 1taly,
Mexico, Romania, Australia, Sweden, Austria, lreland, and the
United Kingdom; and defendant WILLEMS asked the unindicted
coconspirator to load the funds onto a pre-paid debit card,
bearing account number ####~####~####-3101, in the name R.G.P.

246. On April 23, 2010, using coded language in a series of
e-mail communications, defendant JONATHAN COLBECK told an
unindicted co-conspirator that he had three different types of
high-quality marijuana available for sale, informed the
unindicted co-conspirator that he would send controlled
substances via priority mail, and directed the unindicted co-
conspirator to mail cash for his controlled substances order to
“GBC” at a post office box in Walker, 10wa.

247. On April 25, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
to instruct cash-paying controlled substances customers to send
payments to “BJC and Associates” at a post office box in Vinton,

10wa,

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248. On April 25, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant RAWLS that he had
received the latest transfer of funds a few days earlier, which
totaled 14,065 euros, and stated that one controlled substance
sample was en-route to each of the two addresses defendant RAWLS
had provided on April 15, 2010,

249. On April 26, 2010, using coded language in an e-mail
communication, defendant WILLEMS told the UC that he knew many
customers had lost trust in their on-line marketplace due to
order-processing problems since the prior Christmas holiday and
advised the UC that he had resumed operating the Adamflowers
marketplace because he did not like the marketplace operating on
the TOR network.

250. On April 29, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant RAWLS that he
would start supplying defendant RAWLS with controlled substances.

251. On April 29, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK agreed with defendant
WILLEMS that customers paying cash would send payments to B.C. at
a post office box in Center Point, 10wa,

252. On April 29, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant BIGRAS that he
had received his order for one and one-half ounces of marijuana
to be shipped to an address on Glencove Avenue Northwest in Palm
Bay, Florida.

253. On April 30, 2010, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-

conspirator in Panama that she should have received a total of

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$1,510 via Western Union from individuals in New Jersey,
Connecticut, Missouri, Texas, Louisiana, Nevada, and Finland;
and defendant WILLEMS asked the unindicted coconspirator to load
the funds onto a pre-paid debit card, bearing account number
####-####-####-3101, in the name R.G.P.

254. On May 4, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant JONATHAN COLBECK
to expect $6,000 to $7,000 in additional cash that week and asked
him to send the cash he had to the cash drop in the Netherlands.

255. On May 5, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant RAWLS that most
of the LSD he would receive would bear the dolphin yingyang
pattern, that he had already sent defendant RAWLS two packages
containing 500 LSD hits each, and that he hoped to send him
another 3,000 LSD hits early the following week.

256. On May 7, 2010, using coded language in an e-mail
communication, defendant JONATHAN COLBECK told defendant WILLEMS
that he was sending a payment to his address in Lelystad,
Netherlands.

257. On May 7, 2010, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$1,997 via Western Union from individuals in California,
Colorado, Texas, South Carolina, Illinois, New York, Pakistan,
Romania, and Belgium; and defendant WILLEMS asked the indicted
conspirator to load the funds onto a pre-paid debit card, bearing

account number ####-####-####-3101, in the name R.G.P.

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258. On May lO, 2010, using coded language in an e-mail
communication, defendant RAWLS told defendant WILLEMS that he had
received 500 hits of LSD contained in one envelope.

259. On May lO, 2010, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator that the address to send cash payment for the
unindicted co-conspirator’s order was in Center Point, 10wa.

260. On May 11, 2010, using coded language in an e-mail
communication, defendant W1LLEMS told defendant BIGRAS that he
had received defendant BIGRAS' order for one and one-half ounces
of marijuana to be shipped to an address on Glencove Avenue
Northwest in Palm Bay, Florida.

261. On May ll, 2010, using coded language in an e-mail
communication, defendant BRIAN COLBECK asked defendant JONATHAN
COLBECK whether half ounces of marijuana sold for $110 and
whether he owed defendant JONATHAN COLBECK another $110 for two
orders.

262. On May 13, 2010, using coded language in an e-mail
communication, defendant WILLEMS told an unindicted co-
conspirator in Panama that she should have received a total of
$4,227 via Western Union from individuals in Louisiana, Texas,
Wisconsin, Massachusetts, Pennsylvania, New Jersey, Oklahoma,
Mexico, Sweden, 1reland, the United Kingdom, and the Philippines;
and defendant WILLEMS asked the unindicted coconspirator to load‘
the funds onto a pre-paid debit card, bearing account number
####-####-####-3101, in the name R.G.P.

263. On May 19, 2010, using coded language in an e-mail

communication, an unindicted co-conspirator in Panama told

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defendant WILLEMS that, starting June 1, 2010, the individual to
whom customer payments via Western Union should be sent was
Z.M.K. in Budapest, Hungary.

264. On May 22, 2010, using coded language in an e-mail
communication, defendant WILLEMS told defendant RAWLS that he
should have received a box containing 1,000 hits of LSD on white
paper and that another 1,000 hits of LSD bearing the dolphin
yingyang pattern were en route.

265. On May 23, 2010, using coded language in an e-mail
communication, defendant EVRON ordered one-eighth of an ounce of
hashish from the on-line controlled substances marketplace to be
shipped to Buenos Aires, Argentina.

266. On May 28, 2010, using coded language in an e-mail
communication, defendant EVRON informed defendant WILLEMS of the
amount of money defendants WILLEMS and JONATHAN COLBECK had
earned that week and advised defendant WILLEMS that he now owed
defendant EVRON 6,577 euros and that defendant JONATHAN COLBECK
owed him $521.

267. On May 31, 2010, using coded language in an e-mail
communication, defendant WILLEMS asked defendant RAWLS to mail 20
hits of LSD to a customer in Lubbock, Texas, and informed
defendant RAWLS that he should receive 2,000 hits of LSD on white
paper in a day or two.

268. On July 1, 2010, an unindicted co-conspirator received
an order from the UC for 50 hits of LSD, and defendant RAWLS
received an order from the UC for 30 hits of dimethyltriptamine
and 500 grams of mescaline for delivery to Los Angeles,

California, all via The Farmer's Market, for $1,565, which was

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sent by mail to defendant JONATHAN COLBECK in Center Pointe,
10wa.

269. On August 23, 2010, using coded language in an e-mail
communication, defendant WILLEMS advised the UC that they were
offering discounted LSD for the next 10 days and that future LSD
sales would be handled by re-sellers listed on the TOR network.

270. On August 25, 2010, in Alpharetta, Georgia, defendant
RAWLS received a package which contained approximately 250 hits
of LSD from the Netherlands at his post office box.

271. On September 8, 2010, using coded language in a private
message communication, defendant EVRON directed the UC to check
directly with an unindicted co-conspirator LSD supplier
concerning the status of his July 1, 2010 order for 50 hits of
LSD because defendant EVRON was no longer involved in order
processing.

272. On September 12, 2010, using coded language in an
on-line communication, an unidentified co-conspirator posted a
message to a forum on The Farmer's Market stating that defendants
BIGRAS and MATZEK were the designated payees for purchasing
controlled substances via PayPal.

273. On October 7, 2010, using coded language in an on-line
communication, defendant MATZEK posted a message to a forum on
The Farmer's Market stating that he was a designated payee for
purchasing controlled substances via PayPal.

274. On December 5, 2010, using coded language in an on-line
communication, defendant RAWLS posted a message on The Farmer's

Market stating that he had LSD available for sale.

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275. On February 8, 2011, using coded language in an on-line
communication, defendant MATZEK posted a message to a forum on
The Farmer's Market stating that defendants BIGRAS and MATZEK
were designated payees for purchasing controlled substances via
PayPal.

276. On July 19, 2011, via The Farmer's Market, defendant
RAWLS agreed to sell the UC three vials of liquid LSD for
delivery to Los Angeles, California, for $2,160 sent via Paypal
to defendant BRIAN COLBECK.

277. On July 19, 2011, using coded language in an e-mail
communication, defendant BRIAN COLBECK asked the UC to respond to
an e-mail that he had sent the UC in order to disguise from
PayPal the fact that the UC was sending a payment.

278. On July 27, 2011, using coded language in an e-mail
communication, defendant RAWLS provided the UC with a tracking
number for his July 19, 2011 order of three vials of liquid LSD
and instructed the UC not to use the TOR network when checking
the tracking number.

279. On August 17, 2011, via The Farmer's Market, defendant
RAWLS agreed to sell the UC three vials of liquid LSD and five
grams of ketamine for delivery to Los Angeles, California, for
$2,345 sent in cash via the mail to defendant JONATHAN COLBECK in
Vinton, Iowa.

280. On August 23, 2011, at his residence on Virden Drive in
Urbana, 10wa, defendant JONATHAN COLBECK possessed the envelope
mailed by the UC on August 17, 2011, which had contained the

money for the UC's purchase of LSD and ketamine,

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281. On August 24, 2011, using coded language in an e-mail
communication, defendant RAWLS provided the UC with a tracking
number for his August 17, 2011 order of three vials of liquid
LSD.

282. On August 30, 2011, in Alpharetta, Georgia, defendant
RAWLS received a package that contained approximately 1,500 hits
of LSD and 14 grams of LSD microdots from the Netherlands at his
post office box.

283. On October 21, 2011, using a posting on The Farmer’s
Market, defendant JONATHAN COLBECK offered to sell large
quantities of LSD in sheets of 100 hits per sheet at a minimum of
100-hit quantities.

284. On October 21, 2011, using a posting on The Farmer's
Market, defendant RAWLS offered to sell ketamine, DMT, liquid

LSD, and psilocybin mushrooms.

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COUNT TWO
[18 U.S.C. § 1956(h)]

1. Paragraphs One through Eight of the General Allegations
are realleged and incorporated by reference as if fully set forth
herein.

A. OBJECTS OF THE CONSPIRACY

Beginning on a date unknown and continuing to on or about
November 29, 2011, in Los Angeles County, within the Central
District of California, and elsewhere, defendants WILLEMS, EVRON,
JONATHAN COLBECK, RAWLS, DUGAN, BRIAN COLBECK, BIGRAS, and MATZEK
(collectively, “the defendants”), and others known and unknown to
the Grand Jury, conspired and agreed with each other to knowingly
and intentionally transport, transmit, and transfer monetary
instruments and funds, that is, United States currency and euros,
from places in the United States to and through places outside
the United States, and to places in the United States from and
through places outside the United States:

1. with the intent to promote the carrying on of
specified unlawful activity, that is, conspiracy to distribute
controlled substances, in violation of Title 21, United States
Code, Section 846, all in violation of Title 18, United States
Code, Section 1956(a)(2)(A); and

2. knowing that the monetary instruments and funds
involved in the transportation, transmission, and transfer
represented the proceeds of some form of unlawful activity, and
knowing that such transportation, transmission, and transfer was
designed in whole and in part to conceal and disguise the nature,

the location, the source, the ownership, and the control of the

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proceeds of specified unlawful activity, that is, conspiracy to
distribute controlled substances, in violation of Title 21,
United States Code, Section 846, all in violation of Title 18,
United States Code, Section 1956(a)(2)(B)(i).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished in
substance as follows:

1-25. The Grand Jury re-alleges and incorporates by
reference as if fully set forth herein paragraphs 1 through 25 of
Section B of Count One setting forth the means of the conspiracy
charged in Count One.

C. OVERT ACTS

1n furtherance of the conspiracy, and to accomplish the
objects of the conspiracy, the defendants, and others known and
unknown to the Grand Jury, committed various overt acts within
the Central District of California, and elsewhere, including but
not limited to the following:

1-284. The Grand Jury re-alleges and incorporates by
reference as if fully set forth herein paragraphs 1 through 284
of Section C of Count One, setting forth the overt acts of the

conspiracy charged in Count One.

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coUNTs THREE through ELEVEN
[21 U.S.C. §§ 841(a)(l), (b)(l)(A)(v), (b)(l)(B)(v), (b)(l)(C);
18 U.S.C. § 2]

On or about the dates set forth below, in Los Angeles
County, within the Central District of California, and elsewhere,
defendants MARC PETER WILLEMS, also known as (“aka”) “Adam,” aka
“Ruby" (“WILLEMS”) , MICHAEL E'\/'RON, aka “Keysh” (“E'\/'RON”) ,
JONATHAN COLBECK, aka “Jay,” aka “djsfishin” (“JONATHAN
COLBECK”), RYAN RAWLS, aka “jootgatter” (“RAWLS”), and BRIAN
COLBECK, aka “brnytrbl” (“BRIAN COLBECK”) as set forth below,
knowingly and intentionally distributed, and aided, abetted,
counseled, commanded, induced, and procured the distribution of,
the following quantities of a mixture and substance containing a
detectable amount of lysergic acid diethylamide;(“LSD”), a

Schedule 1 controlled substance,

 

 

 

 

 

 

COUNT DATE DEFENDANTS AMOUNT

THREE 3/27/2009 WILLEMS and EVRON .4 grams

FOUR 4/21/2009 WILLEMS and EVRON at least one gram,
that is,
approximately 1.5
grams

FIVE 7/6/2009 WILLEMS and EVRON at least one gram,
that is,
approximately 1.9
grams

SIX 12/8/2009 WILLEMS and EVRON at least one gram,
that is,
approximately 5.53
grams

SEVEN 12/15/2009 WILLEMS and EVRON at least one gram,
that is,
approximately 2.11
grams

 

 

 

 

 

 

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EIGHT 5/7/2010 WILLEMS and EVRON at least one gram,
that is,
approximately 1.2
grams
NINE 10/14/2010 WILLEMS and EVRON .58 grams
TEN 7/27/2011 WILLEMS, EVRON, at least 10 grams,
RAWLS, and BRIAN that is,
COLBECK approximately 31.8
grams
ELEVEN 8/29/2011 WILLEMS, EVRON, at least 10 grams,

 

 

RAWLS, and JONATHAN

COLBECK

 

that is,
approximately 31.7
grams

 

 

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COUNT TWELVE
[16 U.s.c. § 646(a)]

Beginning on an unknown date, and continuing to on or about
November 29, 2011, in Los Angeles County, within the Central
District of California, and elsewhere, defendants MARC PETER
WILLEMS, also known as (“aka”) “Adam,” aka “Ruby” (“WILLEMS”),
and MICHAEL EVRON, aka “Keysh” (“EVRON”), engaged in a continuing
criminal enterprise in that defendants WILLEMS and EVRON
knowingly and intentionally violated Title 21, United States
Code, Sections 841(a)(1) and 846, including but not limited to
the felony violations alleged in Counts One and Three through
Eleven, which Counts are re-alleged and incorporated herein by
reference as if fully set forth in this Count, all of which
violations were part of a continuing series of felony violations
of subchapters 1 and 11 of Title 21 of the United States Code
undertaken by defendants WILLEMS and EVRON in concert with at
least five other persons with respect to whom defendants WILLEMS
and EVRON occupied a position of organizer, supervisor, and
manager, and from which continuing series of violations
defendants WILLEMS and EVRON obtained substantial income and

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FORFEITURE ALLEGATION
[21 U.S.C. § 853(a)]

1. The allegations contained in Counts One through Twelve
of this 1ndictment are hereby repeated, realleged, and
incorporated by reference herein as if fully set forth at length
for the purpose of alleging criminal forfeiture pursuant to the
provisions of Title 21, United States Code, Section 853.

Pursuant to Federal Rule of Criminal Procedure 32.2 and Title 21,
United States Code, Section 853, each defendant, if convicted of
one or more of the offenses charged in Counts One through Twelve
of this 1ndictment, shall forfeit to the United States of America
the following property:

a. All right, title, and interest in --

i. any and all property constituting, or derived
from, any proceeds obtained, directly or
indirectly, as a result of any of the
offenses described in Counts One through
Twelve; and

ii. any property, real or personal, used, or
intended to be used, in any manner or part,
to commit, or to facilitate the commission
of, any of the offenses described in Counts
One through Twelve;

b. A sum of money equal to the total value of the

property described in paragraph 1(a).

2. Pursuant to Title 21, United States Code, Section
853(p), each defendant shall forfeit substitute property, up to

the value of the total amount described in paragraph l(a), if, as

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the result of any act or omission of said defendant, said
property, or any portion thereof, cannot be located upon the
exercise of due diligence; has been transferred, sold to, or
deposited with a third party; has been placed beyond the
jurisdiction of the court; has been substantially diminished in
value; or has been commingled with other property that cannot be
divided without difficulty.

A TRUE BILL

/§/

Forepérson

ANDRE BIROTTE JR.
United States Attorney

MCZ`_ OW

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division

RODRIGO A. CASTRO-SILVA
Assistant United States Attorney
Chief, Organized Crime

Drug Enforcement Task Force Section

KEVIN S. ROSENBERG
Assistant United States Attorney
Deputy Chief, Organized Crime

Drug Enforcement Task Force Section

RASHA GERGES

Assistant United States Attorney
Drug Enforcement Task Force Section

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